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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
OPIATE LITIGATION
                                                    Case No. 17-md-2804
This document relates to:
The State of Alabama v. Purdue Pharma L.P.,         Hon. Dan Aaron Polster
No. 1:18-op-45236-DAP




       DECLARATION OF SEAN O. MORRIS IN SUPPORT OF THE
 MANUFACTURER DEFENDANTS’ JOINT MOTION TO DISMISS THE STATE OF
            ALABAMA’S FIRST AMENDED COMPLAINT

       I, Sean O. Morris declare as follows:

   1. I am a partner at the law firm of Arnold & Porter Kaye Scholer and counsel of record for

Defendants Endo Pharmaceuticals Inc. and Endo Health Solutions Inc. in the above-captioned

matter. I am a member in good standing of the State Bar of California. I submit this declaration

in support of the Manufacturer Defendants’ Joint Motion to Dismiss The State of Alabama’s

First Amended Complaint. I have personal knowledge of the following facts and, if called and

sworn as a witness, could and would testify competently thereto.

   2. Attached hereto as Exhibit A is a is a true and correct copy of the prescription drug label

for OXYCONTIN® approved by the FDA as revised December 2016, available at

https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/022272s034lbl.pdf (last accessed

June 29, 2018).

   3. Attached hereto as Exhibit B is a true and correct copy of the prescription drug label that

was applicable for OPANA® ER approved by the FDA as revised December 2016, available at
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https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/201655s021lbl.pdf (last accessed

June 29, 2018)

   4. Attached hereto as Exhibit C is a true and correct copy of a DOJ press release entitled

“Manhattan U.S. Attorney Announces $39 Million Civil Fraud Settlement Against Qualitest

Pharmaceuticals For Selling Half-Strength Fluoride Supplements” (Dec. 16, 2015), available at

https://www.justice.gov/usao-sdny/pr/manhattan-us-attorney-announces-39-million-civil-fraud-

settlement-against-qualitest (last accessed June 29, 2018)

   5. Attached hereto as Exhibit D is a true and correct copy of a DOJ press release entitled

“Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to Report Suspicious

Orders of Pharmaceutical Drugs and for Recordkeeping Violations” (July 11, 2017), available at

https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-

report-suspicious-orders (last accessed June 29, 2018).

   6. Attached hereto as Exhibit E is a true and correct copy of the Alabama Drug Abuse Task

Force’s Report to the Alabama Legislature (February 15, 2013), available at

http://www.alabamaprosecutor.com/Documents/2013_ADTF_Report.pdf (last accessed June 29,

2018).

         I declare under penalty of perjury that the foregoing is true and correct. This Declaration

was executed in Los Angeles, California on June 29, 2018.

                                                       /s/ Sean O. Morris (consent)
                                                       Sean O. Morris

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                                                       Inc. and Endo Pharmaceuticals Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2018 a copy of the foregoing Declaration of Sean O.

Morris in Support of the Manufacturer Defendants’ Joint Motion to Dismiss The State of

Alabama’s First Amended Complaint was filed electronically. Notice of this filing will be

sent to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



Dated: June 29, 2018                                  /s/ Sean O. Morris (consent)
                                                      Sean O. Morris

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